Case 1:17-cv-20920-RNS Document 28 Entered on FLSD Docket 12/13/2017 Page 1 of 1




                             United States District Court
                                       for the
                             Southern District of Florida

  Mike’s Worry Free, Inc.,           and )
  Michael Hlatky, Plaintiffs,            )
                                         )
                                           Civil Action No. 17-20920-Civ-Scola
  v.                                     )
                                         )
  Olivia Charlie LLC, Defendant.         )

          Order Administratively Closing Case Upon Notice Of Settlement
        The parties have settled this action. (Mediation Report, ECF No. 27.) By
  January 9, 2018, the Plaintiff must file a stipulation of dismissal, under
  Federal Rule of Civil Procedure 41(a)(1)(A)(ii), or a motion to dismiss, consistent
  with Rule 41(a)(2). The Court will administratively close this case in the
  meantime.
        If the Plaintiff files a stipulation of dismissal under Rule 41(a)(1)(A)(ii) and
  the parties wish to have this Court retain jurisdiction to enforce any settlement
  agreement, the stipulation of dismissal must include the following sentence:
  “The effectiveness of this stipulation of dismissal is conditioned upon the
  Court’s entry of an order retaining jurisdiction to enforce the terms of the
  parties’ settlement agreement.” This sentence is necessary because a
  stipulation of dismissal is otherwise self-executing and deprives the Court of
  jurisdiction to do anything further. See Anago Franchising, Inc. v. Shaz, LLC,
  677 F.3d 1272, 1280 (11th Cir. 2012).
        The Court directs the Clerk to close this case. Any party may move to re-
  open the case if there is a problem in reaching a final settlement agreement.
  Any pending motions are denied as moot.
          Done and ordered in chambers, at Miami, Florida, on December 12,
  2017.

                                                ________________________________
                                                Robert N. Scola, Jr.
                                                United States District Judge
